     Case 2:17-cv-03465-SM-JVM Document 141-1 Filed 12/18/18 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
__________________________________________
 VIVIAN PATZ and MICHAEL PATZ,             )
                                           )
                  Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
      v.                                   )
                                           ) Judge Susie Morgan
 SUREWAY SUPERMARKET, et al.               ) Magistrate Janis Van Meerveld
                                           )
                 Defendants.               )


      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO EXCLUDE
        DEFENDANTS’ NON-PARTY WITNESSES FROM COURTROOM
       Plaintiffs, through undersigned counsel, respectfully file this memorandum in support of

their motion to exclude Defendants’ non-party-or-designee witnesses from the courtroom at trial.

       I.      Analysis

       At the request of any party, the court “must order” witnesses excluded from the courtroom

during trial “so that they cannot hear other witnesses’ testimony.” Federal R. Evid. 615; Geders v.

United States (1976) 425 U.S. 80, 87, 96 S.Ct. 1330, 133 (courts have broad power to sequester

witnesses before, during, and after their testimony).

       During the depositions of Plaintiffs Vivian and Michael Patz, Denise Esponge and Lovie

Verdin were present, and Defendants’ counsel argued that they could be present because they were

representatives of Defendants Walter H. Maples and SHH Properties, LLC. In the event that

Defendants likewise seek to have Ms. Esponge and/or Ms. Verdin present during other witnesses’

testimony at trial, this would be improper under FRE 615.

       FRE 615 serves both to reduce the danger that a witness’ testimony will be influenced by

hearing the testimony of other witnesses, and to increase the likelihood that the witness' testimony

will be based on his or her own recollections. See FRE 615, Adv. Comm. Notes; Perry v. Leeke



                                                 1
     Case 2:17-cv-03465-SM-JVM Document 141-1 Filed 12/18/18 Page 2 of 3



(1989) 488 U.S. 272, 282, 109 S.Ct. 594, 601, fn. 4 (Rule 615 designed to prevent shaping of

testimony by hearing what other witnesses say). The only exceptions are:

       (a)    a party who is a natural person;

       (b)     an officer or employee of a party that is not a natural person, after being designated
       as the party’s representative by its attorney;

       (c)    a person whose presence a party shows to be essential to presenting the party’s
              claim or defense; or

       (d)    a person authorized by statute to be present.

       Fed. R. Evid. 615.

       Neither Ms. Esponge nor Ms. Verdin is an officer or employee of SHH Properties, LLC.

Indeed, none of Defendants’ witnesses is an employee of SHH Properties such that they could be

designated as a representative of SHH pursuant to FRE 615(b). See Exhibit 1 filed under seal per

R. Doc. 131 (SHH’s balance sheet shows no payroll taxes listed as a liability). Further, if

Defendants wish to have Ms. Esponge, Ms. Verdin, or any other witness present at trial pursuant

to FRE 615(c), they would bear the burden to show that their presence is “essential to presenting

the party’s claim or defense.” Plaintiffs respectfully submit that Defendants cannot meet that

burden, and allowing either Ms. Esponge and/or Ms. Verdin to be present is improper and would

undermine the purposes of FRE 615.

       Pursuant to FRE 615, at most Defendants should be allowed to have two persons present

in the courtroom other than counsel – Defendant Shelly Jambon and, if properly designated by

Defendants, a representative officer or employee for Walter H. Maples, Inc.




                                                 2
     Case 2:17-cv-03465-SM-JVM Document 141-1 Filed 12/18/18 Page 3 of 3



       II.     Conclusion

       Plaintiffs therefore ask this Court to grant the motion the motion to exclude Defendants’

non-party-or-designee witnesses, including but not limited to Ms. Esponge and/or Ms. Verdin,

from the courtroom at trial.

                                    VIVIAN BLACKLEDGE and MICHAEL PATZ, by and
                                    through their counsel,

                                    /s/ William Most__________
                                    WILLIAM MOST
                                    La. Bar No. 36914
                                    201 St. Charles Ave., Ste. 114, # 101
                                    New Orleans, LA 70170
                                    T: (504) 509-5023
                                    Email: williammost@gmail.com

                                    And

                                    Kerry A. Murphy (La. Bar No. 31382)
                                    Catherine E. Lasky (La. Bar No. 28652)
                                    LASKY MURPHY LLC
                                    715 Girod Street, Suite 250
                                    New Orleans LA 70130
                                    Telephone: (504) 603-1500
                                    Facsimile: (504) 603-1503




                                               3
